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                                                             GIGANEWS, INC., and
                                                           9 LIVEWIRE SERVICES, INC.
                                                          10                       UNITED STATES DISTRICT COURT
                                                          11                      CENTRAL DISTRICT OF CALIFORNIA
                                                          12                              WESTERN DIVISION
F ENWICK & W EST LLP




                                                             PERFECT 10, INC., a California        Case No.: 11-cv-07098-ABC (SHx)
                       ATTORNEYS AT LAW




                                                          13 corporation,
                                          SAN FRANCISCO




                                                                                                   DISCOVERY MATTER
                                                          14                 Plaintiff,            Before Hon. Stephen J. Hillman
                                                          15        v.                             DEFENDANTS GIGANEWS, INC.
                                                                                                   AND LIVEWIRE INC.’S NOTICE
                                                          16 GIGANEWS, INC., a Texas Corporation; OF MOTION AND MOTION TO
                                                             LIVEWIRE SERVICES, INC., a Nevada COMPEL RESPONSES TO
                                                          17 corporation; and DOES 1 through 100,  INTERROGATORIES AND
                                                             inclusive,                            PRODUCTION OF DOCUMENTS
                                                          18
                                                                             Defendants.           Date:        April 28, 2014
                                                          19
                                                                                                   Time:        2:00 P.M.
                                                          20 GIGANEWS, INC., a Texas Corporation; Courtroom: 550 (Roybal)
                                                          21 LIVEWIRE
                                                             Corporation,
                                                                          SERVICES, INC., a Nevada Discovery Cut-off: June 30, 2014
                                                                                                   Pretrial Conference: January 19, 2015
                                                          22                 Counterclaimants,     Trial Date: January 27, 2015
                                                          23        v.
                                                          24 PERFECT 10, INC., a California
                                                          25 Corporation,
                                                          26              Counterdefendant.

                                                          27
                                                          28
                                                               NOTICE OF MOTION ON DEFENDANTS’
                                                               MOTION TO COMPEL RESPONSES TO                     CASE NO. 11-cv-07098-ABC (SHx)
                                                               INTERROGATORIES AND PROD OF DOCS
                                              Case 2:11-cv-07098-AB-JPR Document 234 Filed 04/07/14 Page 2 of 2 Page ID #:9662



                                                           1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                                                           2         PLEASE TAKE NOTICE that on April 28, 2014 at 2:00 p.m., or as soon
                                                           3 thereafter as counsel may be heard in Courtroom 550 of the United States District
                                                           4 Court for the Central District of California, located at 255 East Temple Street, Los
                                                           5 Angeles, CA 90012-3332, Giganews, Inc. and Livewire Services, Inc.
                                                           6 (“Defendants”) will and hereby do move for an order compelling Perfect 10 to
                                                           7 provide responses to interrogatories (Interrogatory Nos. 1-6) and to produce
                                                           8 documents (Request Nos. 4-20, 23-68, 70-78).
                                                           9         The Motion to Compel is based on this Notice of Motion, the Joint
                                                          10 Stipulation, the Declaration of Todd Gregorian and the Exhibits thereto, filed
                                                          11 concurrently herewith, all other pleadings and papers on File in this action, any
                                                          12 matters of which this Court may take judicial notice, and such other evidence and
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                                          13 argument as may be presented at or before the hearing on this matter.
                                          SAN FRANCISCO




                                                          14         Pursuant to Local Rule 37-1, the parties met and conferred on the matters in
                                                          15 the Motion to Compel telephonically on February 4, 2014.
                                                          16
                                                          17 Dated: April 7, 2014                 FENWICK & WEST, LLP
                                                          18
                                                          19                                        By /s/ Andrew Bridges
                                                                                                      Andrew Bridges
                                                          20
                                                                                                       Attorneys for Defendants
                                                          21                                           GIGANEWS, INC. and LIVEWIRE
                                                                                                       SERVICES, INC.
                                                          22
                                                          23
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                                                          28
                                                               NOTICE OF MOTION DEFENDANTS’
                                                               MOTION TO COMPEL RESPONSES TO            1               CASE NO. 11-cv-07098-ABC (SHx)
                                                               INTERROGATORIES AND PROD OF DOCS
